        Case: 2:21-cv-05289-SDM-KAJ Doc #: 1-1 Filed: 11/12/21 Page: 1 of 55 PAGEID #: 5

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                                           To wit: October 18,2021                           CLIiiX 0i" C0URT
                                                                                      SUPREHE CCURT OF OHIO


                                             CaseNo. 2021-1276

                                               SUM]\4ONS

                   The following have been named as respondents in the enclosed action:

Gov. Mike DeWine                                           Justice Maureen O'Connor
77 S. High St.                                             Justice Sharon Kennedy
Columbus, Ohio 43215                                       Justice Patrick Fischer
                                                          Justice Patrick DeWine
Ohio Attomey General David Yost                           Justice Michael Donnelly
30 East Broad St.                                         Justice Melody Stewart
Columbus, Ohio 43215                                      Justice Jennifer Bruffier
                                                          65 South Front Street
Judge W. David Branstool                                  Columbus, Ohio 43215
Courthouse
Newark, Ohio 43055                                        President Joe Biden
                                                          1600 Pennsylvania Ave. NW
Licking County Prosecutor William Hayes                   Washington, DC 20500
20 South Second St.
Newark, Ohio 43055                                        Vice President Kamala Harris
                                                          1600 Pennsylvania Ave. NW
5s Dist. Judge Craig Baldwin                              Washington, DC 20500
5th Dist. Judge John Wise
5ft Dist. Judge Patricia Delaney                          United States Attomey General
Courthouse                                                Merrick Garland
Newark, Ohio 43055                                        U.S. Dept. of Justice
                                                          950 Pennsylvania Ave. NW
Attomey Diane Menashe                                     Washington, DC 20530
250 West St., Unit #700
Columbus, Ohio 4321 5                                     United States Attorney
                                                          303 Marconi Blvd., Suite 200
Attorney Darrin Leist                                     Columbus, Ohio 43215
513 E. Rich St., #201
Columbus, Ohio 43215                                      Federal Judge Edmond Sargus Jr.
                                                          85 Marconi Blvd.
Attomey Kirk Mcvay                                        Columbus, Ohio 43215
755 S. High St.
Columbus, Ohio 43215
       Case: 2:21-cv-05289-SDM-KAJ Doc #: 1-1 Filed: 11/12/21 Page: 2 of 55 PAGEID #: 6

                                                            Newark Police Department
Director Chambers-Smith ODRC                                Chiefof Police
770 West Broad St.                                          39 South Fourth St.
Columbus, Ohio 43215                                        Newark, Ohio 43055

Warden Harold May                                           Licking County Prosecutor
Major Brown                                                 Paula Sawyer
Chief Unit Manger Robinson                                  20 South Second St.
2001 E. Central Ave.                                        Newark, Ohio 43055
Toledo, Ohio 43215
                                                            Unit Manager Hernandez
Licking County Judge Thomas Mardan                          Deputy Warden Hobbs
Courthouse                                                  2001 E. Central Avenue
Newark, Ohio 43055                                          Toledo, Ohio 43608

                                                            Licking County Clerk of Courts
                                                            Olivia C. Parkinson
                                                            75 East Main St.
                                                            Newark, Ohio 43055


                  You are hereby notified that a complaint for a writ of mandamus has been filed
          against you in the SLJPREME COURT OF OHIO, 65 South Front Street, Columbus, Ohio
          43215-3431 , by Randall Tyler Hutchison, Toledo Conectional Institution, 2001 E. Central
          Ave., Toledo, OH 43608.

                 Furthermore, you are hereby served with a copy of the complaint (enclosed) and
         are required to file an answer to the complaint or a motion to dismiss on or before the 21sr
         day after service of this sumnons, unless otherwise ordered by the court. See
         S.Ct.Prac.R. 12.04.

                  Ifyou fail to respond timely to the complaint, this action will   proceed before the
         Court.

                         IN WITNESS WHEREOF, I have hereunto subscribed my name and
                         affixed the seal of the Supreme Court, this October 18,2021      .




                                         SANDRAH.GROSKO                CLERK

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                  Case: 2:21-cv-05289-SDM-KAJ Doc #: 1-1 Filed: 11/12/21 Page: 3 of 55 PAGEID #: 7



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